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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 DOE I, et al.,

                                Plaintiffs,

                  v.                                  Civil Action No. 19-3737 (CJN)

 APPLE INC., et al.,

                                Defendants.


                             DEFENDANTS’ RESPONSE TO
                  PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY

       Defendants Apple Inc., Alphabet Inc., Dell Technologies Inc., Microsoft Corp., and Tesla

Inc. respond to Plaintiffs’ Notice of Supplemental Authority, filed on September 14, 2021.

Plaintiffs submit two decisions from other districts: (1) John Doe et. al v. Twitter, Inc., No. 21-

CV-00485-JCS (N.D. Ca. Aug. 19, 2021) (Spero, M.J.), and (2) Jane Doe et. al v. Mindgeek

USA, Inc. et. al, No. SACV 21-00338-CJC-ADS (C.D. Ca. Sept. 3, 2021) (Carney, J.). These

decisions do not present any new analysis and involve facts and legal theories that are

distinguishable from those presented here.

       Both Twitter and Mindgeek involve allegations of sex trafficking and child pornography

occurring on the defendants’ digital platforms—a fact pattern already addressed in the parties’

briefing. See Opp. MOL at 11 and Reply MOL at 10 (discussing M.L. v. Craigslist Inc., No.

C19-6153 BHS-TLF, 2020 WL 5494903 (W.D. Wash. Sept. 11, 2020)). As in Craigslist, both

of these new decisions involve a direct contractual relationship between the defendants and the

wrongdoer. See Pls.’ Notice of Supp. Auth. at Ex. 1 (Twitter decision), p. 23 (wrongdoers

alleged to be direct users of the digital platform); id. at Ex. 2 (Mindgeek decision), pp. 12-13

(same). This fact pattern is far from the facts of this case, where there are multiple layers of


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independent actors between the alleged TVPRA wrongdoers and Defendants. See Mot. at 26-33;

Reply MOL at 14-20.

       Further, the defendants in Twitter and Mindgeek were alleged to have had access to facts

about specific instances of wrongdoing involving the named plaintiffs, rather than merely

general, diffuse knowledge that wrongdoing occurs somewhere on their platforms. See Pls.’

Notice of Supp. Auth. at Ex. 1, pp. 23-24 (plaintiffs alleged that “Twitter was specifically alerted

that the Videos contained sexual images of children obtained without their consent on several

occasions but either failed or refused to take action”); see also id. at Ex. 2, p. 15 (defendants

“reviewed, approved, and featured the videos of [the victim] on their platforms” and “the video

depicting [the victim] that Defendants uploaded to RedTube had the word “teen” in its title and

was categorized as teen pornography”). The courts found that these facts were part of a plausible

claim of an “ongoing pattern of conduct amounting to a tacit agreement” regarding those

plaintiffs. Pls.’ Notice of Supp. Auth. at Ex. 1, p. 24; see also id. at Ex. 2, p. 14. Here, by

contrast, Plaintiffs have not alleged, and cannot allege, that Defendants had any constructive

knowledge about specific conduct involving specific plaintiffs that could form the basis for any

such agreement. See Mot. at 36-37; Reply MOL at 23-26.

       For these reasons, the cases Plaintiffs submit do not support their argument that the

Complaint adequately pleads facts showing that Defendants violated the TVPRA.

Dated: September 17, 2021

                                                      Respectfully submitted,

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